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378 Message ID:                                       424

       Direction:                                           Outgoing message

       Remote party:

       Remote party name:                                               New Phone

       Time stamp (Device time +00:00):               03/24/2017 05:57:39 AM

       Content:                                       Sorry for the late text but I don't like leaving things said that might be misinterpreted.
                                                      My text earlier tonight was definitely NOT me subtly telling you I was paranoid that
                                                      the message I got had validity to it. I know I'm getting fucked with in an effort to add
                                                      fuel to the fire. I trust you, I trust our friendship and I trust the route that I'm taking
                                                      Amyntor. We probably are victim to lack of availability/communication much of the
                                                      time because I can't keep you up to speed via email, phone or text. We are
                                                      swimming so deep with the great white sharks right now that comm discipline is
                                                      paramount way more than ever. I worry sometimes you think I'm compartmentalizing
                                                      things away from you but it is ONLY to protect you,               , the kids and your family.
                                                      I've made a few mistakes the past 4 years in the process of building Amyntor but I'm
                                                      comfortable with owning them and taking solace in the fact they were minor bumps
                                                      and not crash landings. Maybe it's the difference between a tech/VC genius(you) and
                                                      my case officer long ball mentality. Honestly though, we are almost exactly on the
                                                      same page with the what, the how and the why but it just looks different to you right
                                                      now because of the lack of supporting narrative. I'm just asking for trust and faith that
                                                      I have your back all the way and will do everything in my power to make a dent in this
                                                      industry and bring home the bacon.

                                                      FYI- I really don't care about           or what he says about me. The "he's just a
                                                      dumb fucking Marine" comments really have some entertainment value to them. I'm
                                                      convinced he just hates anyone and everyone who doesn't bow to him in awe and
                                                      fear. I don't know if you hear all the stuff that he does and I wouldn't waste your time
                                                      or brain space to tell you anymore. He will be a self correcting problem if I had to
                                                      wager a bet. I respect your relationship with him and where he benefits you and
                                                      you're the boss.

                                                           on the other hand is a necessary conversation. There's much more to the story
                                                      and after I met with            his radar perked way up and now he's been validating
                                                      the BS      has been shoveling. It's a problem and I know you don't want to hear this
                                                      and will doubt me, but I know there's some active plotting going on and his buddy
                                                              has an active role in it. We would call this shit they are doing
                                                      influence/counter influence operations. Happy to share what I'm hearing consistently
                                                      from a couple independent trustworthy and inside sources.




       Type:                                          Text




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379 Message ID:                                       423

       Direction:                                           Outgoing message

       Remote party:

       Remote party name:                                               New Phone

       Time stamp (Device time +00:00):               03/24/2017 04:18:45 AM

       Content:                                       Brother- don't let my sarcasm freak you out. I promised you if I ever royally fucked
                                                      up(which I don't intend to do), you wouldn't have to fire me, I'd resign. I do wish you
                                                      were more up to speed on the chess moves that are taking place with Amyntor and
                                                      that what may look odd from the outside is just part of this fucking dysfunctional
                                                      process that we operate in. The company is going to be a success at this point, with
                                                      or without me. As far as              goes, it is what it is and he does plenty of shit
                                                      talking about me to people he feels like are in his control. He says some pretty crazy
                                                      shit that I've just chosen to laugh about as opposed to getting pissed and
                                                      confrontational.          ....yikes, there's plenty of shit that he's done and continues to
                                                      do that makes my life difficult because it reflects back on me and Amyntor. I also
                                                      believe he's doing some pretty shady shit leveraging himself for the run for sheriff.
                                                      He's failed to accept, either because he's crazy or delusional, that he's surrounded
                                                      by real life spy guys that are aware of what he's doing and the bullshit he's spreading
                                                      in an effort to sell people on his make believe Jason Bourne past. I am throwing
                                                      caution to you on this, you need to trust me and my background on how to handle
                                                      him because he will attempt to throw you to the wolves if it helps him get what he
                                                      wants. I know this as fact.



       Type:                                          Text


380 Message ID:                                       422

       Direction:                                           Incoming message

       Remote party:

       Remote party name:                                               New Phone

       Time stamp (Device time +00:00):               03/24/2017 03:55:08 AM

       Content:                                       Geez brother don't make me start worrying about you getting a case of the paranoias
                                                      about me EVER firing you. We have enough reality shit to worry about, like what
                                                      needs to improve together to make Amyntor the success it deserves to be! I don't
                                                      know where / how              would be speculating about anything because I rarely
                                                      chitchat with him about anything, and you can sure as hell bet I'd never say or even
                                                      hint at anything negative about Amyntor or you to him of all people given the past
                                                      rough spots between you. As far as            goes, I've given up being surprised at the
                                                      manipulative & crazy BS that comes out of that mouth of his. I heard today from
                                                              about another doozy of a bald-faced lie that          told right to     's face, not
                                                      being smart enough to know         could verify he was lying with one phone call.
                                                      also told me that        's ex wife said that about 6 years ago            told her he was
                                                      some kind of secret assassin for the agency! ️️


       Type:                                          Text




                                                                                                                                                     240
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381 Message ID:                                       421

       Direction:                                           Outgoing message

       Remote party:

       Remote party name:                                              New Phone

       Time stamp (Device time +00:00):               03/24/2017 03:37:09 AM

       Content:                                       I've had Marlow and the team all over it but they have done a good job of covering
                                                      their tracks. The burner phones are auto generated numbers that lead back to a
                                                      black hole. I'm guessing it's him and his collective of psychos who are being extra
                                                      careful and fucking with me in the process of doing additional damage to you. I was
                                                      impressed that whomever wrote it was at least using proper grammar. I'm ok with the
                                                      LE folks having this but if we can't track the number there's no chance they'll be able
                                                      to. If you are going to fire me at least wait until I get some of these big contracts
                                                      going so you get your money back. If I was guessing fuckhead is capturing other
                                                      people's texts as well because             and            both have made mention of you
                                                      firing me to other people and that's likely where he's getting that information to use to
                                                      fire me up. Pretty good manipulation tactics on his part.


       Type:                                          Text


382 Message ID:                                       420

       Direction:                                           Incoming message

       Remote party:

       Remote party name:                                              New Phone

       Time stamp (Device time +00:00):               03/24/2017 03:23:51 AM

       Content:                                       Hey brother. Sorry for slow response. We were out to dinner with             (the
                                                      dealership guy, who's also the finance chair for the MT Republican Party) & his wife.
                                                      Well it looks like our old friend fuckhead is back. ️ Can you have your guys try to
                                                      trace the source? At first I thought the grammar was too good for fuckhead but then I
                                                      found a few emails he sent to            where the sentence structure is similar. I doubt
                                                      it's a coincidence that simultaneous to you getting this message            has been
                                                      sending messages to            ,      and some of my other exes where she's trying to
                                                      make them feel betrayed & jealous to get them pissed at me in a pitiful attempt to
                                                      win allies. Didn't you get messages just like this a while back, before my
                                                      blowup? If you still happen to have them can you check to see if it's from the same
                                                      burner phone? If you're ok with it we should feed all of this to the law enforcement
                                                      guys, especially since it's looking likely we'll have good support on the fed side to
                                                      finally nail him (along with         in a two-fer).


       Type:                                          Text


383 Message ID:                                       419

       Direction:                                           Outgoing message

       Remote party:

       Remote party name:                                              New Phone

       Time stamp (Device time +00:00):               03/24/2017 01:14:54 AM

       Content:                                       Any guess who that came from?

       Type:                                          Text




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384 Message ID:                                       418

       Direction:                                           Outgoing message

       Remote party:

       Remote party name:                                              New Phone

       Time stamp (Device time +00:00):               03/23/2017 11:40:44 PM

       Content:                                       Media/14068852413@s.whatsapp.net/8/b/8b4f67cc-d4a4-4fcc-a915-39b8af319a3a.j
                                                      pg




       Type:                                          Image

       Caption:                                       This was sent to me less than an hour ago.

       File size:                                     123.56 KB




                                                                                                                                          242
